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     1                        UNITED STATES DISTRICT COURT

     2            CENTRAL DISTRICT OF CALIFORNIA - WESTERN DIVISION

     3              HONORABLE JOHN F. WALTER, U.S. DISTRICT JUDGE

     4

     5   UNITED STATES OF AMERICA,         )
                                           )
     6                      Plaintiff,     )
                                           )
     7           vs.                       )                Case No. CR 16-824 JFW
                                           )
     8   HEON-CHEOL CHI,                   )                      VOLUME 6
                                           )                  (Pages 711 - 755)
     9                      Defendant.     )
         __________________________________)
    10

    11

    12                            REPORTER'S TRANSCRIPT OF
                                         TRIAL DAY 3
    13                             THURSDAY, JULY 13, 2017
                                          12:42 P.M.
    14                             LOS ANGELES, CALIFORNIA

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    22        ________________________________________________________

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             JULIE WAGNER, Certified Korean Interpreter
    25       SUE MI JONES, Certified Korean Interpreter




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     4    90   -   E-mail from defendant to Pearce            733            733
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         507   -   Agreement between Guralp Systems           721            724
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     1                    THURSDAY, JULY 13, 2017; 12:42 P.M.

     2                           LOS ANGELES, CALIFORNIA

     3                                      VOLUME 6

     4                                        ---

     5                 (Out of the presence of the jury:)

     6                 THE COURT:   Let's go on the record for just a

     7   second.     The jury is not present.       All counsel and the

     8   defendant is present.

     9                 Let me ask the witness to --

    10                 I want you to interpret this.

    11                 Sir, when you're responding to questions, I'd

    12   appreciate it if you would listen to the question because some

    13   of these questions can be answered "yes" or "no."           And if it's

    14   appropriate to answer "yes" or "no," that's the answer.           And

    15   then counsel will ask you a follow-up question.          Okay?

    16                 THE WITNESS:    Yes.

    17                 THE COURT:   You understand?

    18                 THE WITNESS:    Yes.

    19                 THE COURT:   Okay.     Thank you.

    20                 And, Counsel, I can -- if I could suggest to you to

    21   be more specific in your questions so we don't end up with -- a

    22   lot of those answers are just simply nonresponsive to the

    23   question.    And I think --

    24                 MS. BEDNARSKI:    I was trying not to be leading, but

    25   I can see that will be helpful.




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     1                 THE COURT:   Well, I will relax the rule on leading

     2   in order to get more specific questions so we can get --

     3                 Okay.   We're ready.

     4                 (In the presence of the jury:)

     5                 THE COURT:   The record will reflect that the jury is

     6   present.     All counsel and the defendant are present.

     7                 You may resume your examination of this witness.

     8                 MS. BEDNARSKI:    Thank you.

     9                                  JIN SOO SHIN,

    10       DEFENDANT'S WITNESS, PREVIOUSLY SWORN, TESTIFIED THROUGH

    11           THE CERTIFIED KOREAN LANGUAGE INTERPRETER AS FOLLOWS:

    12                         DIRECT EXAMINATION (RESUMED)

    13   BY MS. BEDNARSKI:

    14           Q.    Dr. Shin, was there a requirement in 2003 at KIGAM

    15   about reporting when you got back from overseas business trips?

    16           A.    Yes.

    17           Q.    Have you made such presentations yourself?

    18           A.    Yes.

    19           Q.    And have you attended such presentations given by

    20   other KIGAM researchers?

    21           A.    Yes.

    22           Q.    I'm going to direct your attention to the end of

    23   2003.    Did you attend a presentation of an overseas business

    24   trip involving Dr. Chi?

    25           A.    Yes.




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     1           Q.   And what do you remember of that presentation?

     2                MS. KUMAR:    Objection, Your Honor.      Hearsay.

     3                THE COURT:    What's the objection?

     4                MS. KUMAR:    Hearsay.

     5                THE COURT:    It's overruled.

     6                You may answer the question.

     7                THE WITNESS:    I'm sorry.    I was listening to someone

     8   else, so I forgot your question.        Could you repeat, please?

     9   BY MS. BEDNARSKI:

    10           Q.   Okay.    First, with respect to the presentation, was

    11   there any kind of audio/visual part?

    12           A.   Yes.    The reports are made using PowerPoint files.

    13           Q.   And would you turn to Exhibit 508 in the book in

    14   front of you?

    15                (Exhibit 508 for identification.)

    16   BY MS. BEDNARSKI:

    17           Q.   And look at that exhibit, and tell me when you're

    18   finished looking at it.

    19           A.   Yes.

    20           Q.   Do you recognize Exhibit 508?

    21           A.   Yes.

    22           Q.   And what is Exhibit 508?

    23           A.   This is overseas trip report presentation by

    24   Dr. Chi, Heon-Cheol Chi, and Dr. Jung Ho Park from the U.K.

    25   trip.




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     1           Q.   Is this the presentation that you saw at the end of

     2   2003?

     3           A.   Yes, it is.

     4                MS. BEDNARSKI:     Your Honor, I'd seek the admission

     5   of 508 and the English translation 508A.

     6                (Exhibit 508A for identification.)

     7                THE COURT:    Any objection?

     8                MS. KUMAR:    Objection, Your Honor.      It is hearsay.

     9   And I believe the English translation should be admitted.

    10                THE COURT:    I didn't hear the last part.

    11                MS. KUMAR:    If the Court is going to allow the

    12   admission, I believe only the English translation should be

    13   admitted.

    14                THE COURT:    All right.    I am going to allow the

    15   admission.

    16                And so the English translation is 508A?

    17                MS. BEDNARSKI:     Yes.

    18                THE COURT:    All right.    508A will be received into

    19   evidence.

    20                (Exhibit 508A received into evidence.)

    21                MS. BEDNARSKI:     Now, Your Honor, with respect to

    22   508, which has the color version of the images in 508A, may I

    23   show the jury the color image that's on page 5 of what is

    24   already an English document?

    25                THE COURT:    Yeah, I guess I don't see any reason why




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     1   not to admit -- what's the reason for not admitting 508?

     2                MS. KUMAR:    Your Honor, just that it's Korean

     3   language.    And generally speaking, my understanding is that

     4   English language documents are admitted.         But for this

     5   purpose --

     6                THE COURT:    Right.   But counsel's not going to use

     7   them for that purpose.      She's just going to use it for the

     8   photographs.

     9                So let's admit 508 as well, and then you can just

    10   show whatever you want in terms of the photographs.

    11                (Exhibit 508 received into evidence.)

    12                MS. BEDNARSKI:     Thank you, Your Honor.

    13   BY MS. BEDNARSKI:

    14          Q.    Is this the cover page of the presentation that you

    15   saw?

    16          A.    Yes.   That's correct.

    17          Q.    All right.    And on page 5, which we're going to show

    18   you, do you see this document at page 5 that has the red seal

    19   on it?

    20          A.    Yes.   Yes.

    21          Q.    And do you recall seeing that in the PowerPoint

    22   presentation that you attended at the end of 2003?

    23          A.    Yes, I recall seeing it.

    24          Q.    Now, why is it -- when you -- when you were

    25   preparing your proposal for the high-speed rail project in




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      1   2005, how is it that you remembered that Dr. Chi had some

      2   arrangement about buying equipment without going through an

      3   agent?

      4         A.     Well, at the time when the presentation was made

      5   upon his return to Korea, I was not aware of it.          However, when

      6   I was making plans in response to other requests for proposal,

      7   Dr. Chi had told me about the consulting agreement.          That's how

      8   I came to know.

      9                THE COURT:    So let me ask you a question.       So the

    10    2003 presentation you were unaware of in 2003; is that correct?

    11                 THE WITNESS:    At the time of the 2003 presentation,

    12    I only knew that there was a consulting.         However, I did not

    13    know or wasn't interested in the details.

    14                 THE COURT:    All right.   Go ahead.

    15    BY MS. BEDNARSKI:

    16          Q.     In 2005, when you were preparing your request for a

    17    proposal, did you see the actual contract at that time?

    18                 THE COURT:    Sir, if you keep in mind my admonition

    19    to you before, this is the classic "yes" or "no" question.

    20                 THE WITNESS:    Yes.

    21                 THE COURT:    Okay.    Go ahead.

    22                 So what's the answer?

    23                 THE WITNESS:    Yes.

    24                 THE COURT:    Okay.

    25    ///




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      1   BY MS. BEDNARSKI:

      2         Q.     And did you -- who showed you the contract at the

      3   time you were preparing your proposal on the high-speed rail

      4   project?

      5                THE COURT:    Counsel, I think you have to be more

      6   specific in terms of the contract that you're referring to

      7   because, otherwise, we're going to go into who knows what.

      8                MS. BEDNARSKI:    Fair enough.

      9   BY MS. BEDNARSKI:

    10          Q.     Would you look at 507 in your book.

    11                 (Exhibit 507 for identification.)

    12    BY MS. BEDNARSKI:

    13          Q.     And do you recognize 507?

    14          A.     Yes.

    15          Q.     When did you first see this -- other than viewing

    16    the PowerPoint presentation, when did you actually see this

    17    contract, 507?

    18          A.     I saw it when I was preparing for the high-speed

    19    rail project planned operation in 2005.

    20          Q.     Okay.    And is this the contract you were referring

    21    to when you said you learned that KIGAM could buy the products

    22    directly without paying an agent fee?

    23          A.     Yes.    That's correct.

    24          Q.     And without telling us what Dr. Chi said -- just

    25    listen to my question -- was it your understanding that KIGAM




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      1   could buy the product directly without going through an agent,

      2   in part, based on your conversation with Dr. Chi?

      3           A.   Yes.   That's correct.

      4           Q.   And then did you thereafter submit your proposal for

      5   the project?

      6           A.   Yes.   That's correct.

      7           Q.   Now, you told us that you consulted with a number of

      8   engineers about the products to use.        Did your team on the

      9   high-speed rail project include a number of engineers?

    10            A.   Are you asking how many?

    11            Q.   Did your team include a number of engineers?

    12            A.   Yes.

    13            Q.   And did you discuss with them the equipment that was

    14    available and affordable for the proposal you were going to

    15    make?

    16            A.   Yes.   Several of us had discussed it at the meeting

    17    place.

    18            Q.   By 2000 -- at that time, in 2005, was Korea able to

    19    manufacture equipment -- seismology equipment on the quality

    20    level of Guralp and Kinemetrics?

    21            A.   No.    There were no such companies with the

    22    capability of technology.

    23            Q.   And with the help of the research that KIGAM does

    24    and the advancement of knowledge, has Korea been able to

    25    develop its own manufacturing industry?




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      1         A.     There are many advanced technology -- technology

      2   companies in Korea currently, since 2005.

      3         Q.     As a researcher, was there any rule at KIGAM

      4   prohibiting a researcher from giving an opinion about the

      5   quality of a particular seismology project?         I'm sorry.    Let me

      6   start that again.

      7                Was there any prohibition at KIGAM about a

      8   researcher giving an opinion or recommendation as to a

      9   particular seismology product?

    10                 THE COURT:    I think the question is unclear because

    11    you're talking about an opinion or recommendation as to a

    12    particular product, but you don't have where the recommendation

    13    is going to.    Are you talking about an internal recommendation

    14    among the members of the KIGAM group, or are you talking about

    15    recommendations to others?

    16                 MS. BEDNARSKI:    All right.

    17                 THE COURT:    So I'm going to sustain my own

    18    objection.

    19                 MS. BEDNARSKI:    All right.

    20    BY MS. BEDNARSKI:

    21          Q.     If a -- if an agency such as a rail agency asks for

    22    your opinion about what was the best product to use, would

    23    there be any regulation at KIGAM that would prevent you from

    24    giving an opinion as a researcher on a project as to the

    25    quality of equipment?




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      1         A.     No.

      2                MS. BEDNARSKI:    Your Honor, I'd seek the admission

      3   of 507.

      4                MS. KUMAR:    Your Honor, this is in evidence as

      5   Government's Exhibit 53.      So I generally don't have an

      6   objection.

      7                THE COURT:    All right.   Thank you.

      8                507 will be received into evidence.

      9                (Exhibit 507 received into evidence.)

    10                 MS. BEDNARSKI:    Thank you, Your Honor.      No other

    11    questions.

    12                 THE COURT:    All right.

    13                               CROSS-EXAMINATION

    14    BY MS. KUMAR:

    15          Q.     Good afternoon.

    16          A.     Yes.

    17          Q.     KIGAM -- you've worked at KIGAM for a number of

    18    years; isn't that right?

    19          A.     Yes.   That's right.

    20          Q.     And you testified that the number of seismic

    21    stations that KIGAM operated increased dramatically from 1999

    22    to the present; isn't that right?

    23          A.     Yes.   That's correct.

    24          Q.     And for each one of those stations, KIGAM would need

    25    to purchase and install seismic equipment; isn't that right?




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      1         A.      Yes.   That's right.

      2         Q.      And it's the Earthquake Research Center that

      3   oversees those seismic stations; isn't that right?

      4         A.      Yes.   We oversee the stations that we installed.

      5         Q.      You talked a little bit about consulting agreements

      6   at KIGAM.    You testified you have such an agreement; is that

      7   right?

      8         A.      Yes.   That's right.

      9         Q.      Under this agreement, do you get paid personally,

    10    directly from the company?

    11          A.      Yes.   That's right.

    12          Q.      Do you have an American bank account to which you

    13    get paid?

    14          A.      That's not the case.    Mine are -- my projects are

    15    only in Korea.

    16          Q.      So you have a personal consulting agreement for

    17    which you get personally paid at a bank account in Korea; isn't

    18    that right?

    19          A.      Yes.

    20          Q.      And is that contract with Guralp Systems Limited?

    21          A.      No.    The consulting agreements I have are with the

    22    companies in Korea, not with Guralp.

    23          Q.      Do you have an agreement with Kinemetrics?

    24          A.      No.

    25          Q.      And do you have an agreement with Quanterra?




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      1         A.     No.

      2         Q.     And pursuant to this agreement, you provide the

      3   company's technical consultations; is that right?

      4         A.     When you say "this agreement," what do you refer to?

      5         Q.     Technical consultations.       Did you -- under this

      6   agreement, you provide the company's technical consultations;

      7   isn't that right?

      8                THE COURT:    No.   He's confused in terms of what

      9   agreement you're referring to for which he provides those

    10    consulting services.

    11                 MS. KUMAR:    I'll rephrase.

    12    BY MS. KUMAR:

    13          Q.     You stated you have a personal agreement with

    14    companies in Korea for which you get paid personally; is that

    15    right?

    16          A.     That's right.

    17          Q.     And you have that contract currently?

    18                 THE COURT:    He has several contracts with various

    19    companies in Korea.

    20                 THE WITNESS:    Not at the present time.

    21    BY MS. KUMAR:

    22          Q.     When did those contracts end?

    23          A.     I recall it was about three years ago.

    24          Q.     And under those contracts, you provide those

    25    companies -- those personal contracts, you provided those




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      1   companies technical consultations; is that right?

      2         A.      Yes.   That's right.

      3         Q.      You talked a little bit about what your

      4   understanding of -- was of the defendant's consulting

      5   agreement.     I'd like to talk about that.

      6                 You first learned about this agreement in November

      7   of 2003 at a meeting; isn't that right?

      8         A.      Yes.   That's right.

      9         Q.      That was the first time you had heard of it; isn't

    10    that right?

    11          A.      That's the first time I heard about the agreement

    12    with Guralp.

    13          Q.      I'd like to pull up Government's Exhibit 53.

    14                  This is the agreement you're -- we are talking

    15    about -- isn't that right? -- that you learned about in

    16    November of 2003?

    17          A.      Is this the same agreement that I'm looking at?

    18          Q.      We can --

    19          A.      Yes.   I believe that's the one.

    20          Q.      And this agreement is between Guralp Systems Limited

    21    and KIGAM; isn't that right?

    22          A.      Yes.

    23          Q.      And it's signed by Dr. Chi on the second page.

    24          A.      That's right.

    25          Q.      And it was signed in his capacity as principal




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      1   researcher at the Earthquake Research Center at KIGAM; isn't

      2   that right?

      3          A.     That's right.

      4          Q.     So when you learned about the agreement in 2003, did

      5   Dr. Chi also tell you that he had a separate personal agreement

      6   with Guralp?

      7          A.     I don't have knowledge about the private agreement.

      8          Q.     So you were only aware of this agreement; isn't that

      9   right?

    10           A.     Yes.

    11           Q.     In fact, at that meeting in November of 2003,

    12    Dr. Chi said absolutely nothing about this personal side

    13    agreement; isn't that right?

    14           A.     I don't know which personal agreement you're

    15    referring to, but I know of no other agreement besides this

    16    one.

    17           Q.     And did Dr. Chi at this meeting in November of 2003

    18    tell you and the other individuals at KIGAM that he had been

    19    paid in cash while signing this agreement in London?

    20                  THE INTERPRETER:    Could you --

    21                  MS. BEDNARSKI:   Misstates the evidence.      Objection.

    22                  THE COURT:   I think the question can be reframed.

    23    I'm going to sustain the objection.

    24                  Are you referring to his receipt of cash while at

    25    the offices in November of 2003?




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      1                 MS. KUMAR:    I am, Your Honor.

      2                 THE COURT:    Then perhaps you can rephrase it.

      3   BY MS. KUMAR:

      4         Q.      During the -- Dr. Chi's presentation when he

      5   returned from London, he didn't tell you anything about the

      6   fact that he had received cash from Guralp at their offices in

      7   November of 2003; isn't that right?

      8         A.      Correct.

      9         Q.      And you also talked a bit about the Korea railway

    10    project; isn't that right?

    11          A.      Right.

    12          Q.      And you were the project manager of that project; is

    13    that right?

    14          A.      That's correct.

    15          Q.      Dr. Chi also worked on that project?

    16          A.      He was a participating researcher, yes.

    17          Q.      But at the same time -- and this is in 2005; is that

    18    right, Mr. Shin?

    19          A.      Yes.

    20          Q.      And at that time, he was also the director of the

    21    Earthquake Research Center; isn't that right?

    22          A.      He was the head of the Earthquake Research Center.

    23          Q.      And that was the center in which you worked; isn't

    24    that right?

    25          A.      That's right.




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      1         Q.      And it was in that job that you had as a

      2   participating researcher that you -- that you had this

      3   agreement with Korea Railway Authority; isn't that right?

      4                 THE INTERPRETER:     I'm sorry.   Could you repeat the

      5   question?

      6                 MS. KUMAR:   Sure.    It was poorly phrased.

      7   BY MS. KUMAR:

      8         Q.      And it was your work at the Earthquake Research

      9   Center that brought you to be the researcher in charge of the

    10    Korea Railway Authority; isn't that right?

    11          A.      Yes.

    12          Q.      So in 2005 when this project was going on at the

    13    Korea -- with the Korea Railway Authority, Dr. Chi was your

    14    boss; isn't that right?

    15          A.      In terms of the administration, that's correct.

    16          Q.      And you said that you made the final decision about

    17    what products to purchase; isn't that right?

    18          A.      That's right.

    19          Q.      But you consulted with other people; isn't that

    20    right?

    21          A.      I did consult with them.

    22          Q.      Including Dr. Chi?

    23          A.      Yes.

    24          Q.      I'd like to pull up what's in evidence as

    25    Exhibit 87.




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      1                I will represent to you that this is an e-mail from

      2   Dr. Chi to Nathan Pearce and Cansun Guralp in May 2005.

      3                In the timeframe of May 2005, Mr. Shin, that was

      4   when the Korea Railway Authority project you were talking about

      5   was occurring; isn't that right?

      6           A.   I don't have an exact recollection what month the

      7   Korean railway project was in progress.        It is the correct

      8   year, but I'm not sure about the month.

      9           Q.   But it was in 2005; isn't that right, Mr. Shin?

    10            A.   That's right.

    11                 MS. KUMAR:    If the interpreter could assist me to

    12    the extent the witness needs it.

    13    BY MS. KUMAR:

    14            Q.   The first two sentences of this read:        "Today, my

    15    institute made a contract with Korea Railway Authority for the

    16    project to install seismic instruments along the express

    17    railroad.    Hence, I have to do process of ordering your

    18    instruments immediately before I go to your office."

    19                 THE INTERPRETER:     May the interpreter actually look

    20    at --

    21                 THE COURT:    I think it would be helpful if you move

    22    the screen closer to the interpreter because basically counsel

    23    is reading from the exhibit.

    24                 So move the screen.     And then if you can highlight

    25    it, that way, the interpreter can -- doesn't have to write what




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      1   you're trying to say.     She can just read it off the screen.

      2                Would that be easier?

      3                THE INTERPRETER:      Yes.   That would be easier.    Thank

      4   you.

      5                THE COURT:    Okay.    All right.   So now we have the

      6   highlighted portion on the exhibit.        Can you see it?

      7                THE INTERPRETER:      Yes, I see it.

      8                THE COURT:    Okay.    You can see it?

      9                THE INTERPRETER:      Yes.

    10    BY MS. KUMAR:

    11           Q.    Can you read English, Mr. Shin?

    12                 THE COURT:    Can you read that, Mr. Shin?

    13                 THE WITNESS:    I'm able to read simple documents.

    14                 THE COURT:    Okay.    Would you like that translated

    15    for you, or could you read it?

    16                 THE WITNESS:    I can understand the first portion.

    17                 THE COURT:    Okay.    Why don't you go ahead and

    18    translate that portion which is highlighted in yellow.

    19                 (Pause in the proceedings.)

    20                 THE COURT:    All right.     What's your question?

    21    BY MS. KUMAR:

    22           Q.    Mr. Shin, were you aware in May of 2005 that the

    23    defendant was telling employees of Guralp that he was

    24    processing the ordering of their instruments for the Korea

    25    Railway Authority project?




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      1                 THE COURT:   All right.   Before you translate that

      2   question, this is a "yes" or "no" answer.         Were you aware?

      3                 THE INTERPRETER:    Could you repeat the question,

      4   Counsel?

      5   BY MS. KUMAR:

      6         Q.      Were you aware in May of 2005 that the defendant,

      7   Dr. Chi, was telling employees of Guralp that he was ordering

      8   their instruments for the Korea Railway Authority project?

      9         A.      I was not aware.

    10          Q.      You also spoke on direct about the importance of

    11    getting discounts on the products that KIGAM purchased; isn't

    12    that right?

    13          A.      That's right.

    14          Q.      And you thought that Dr. Chi was getting you that

    15    discount; isn't that right?

    16          A.      Yes.

    17          Q.      I'd like to now direct your attention to Exhibit 90,

    18    which is in evidence.

    19                  (Exhibit 90 for identification.)

    20                  MS. KUMAR:   Sorry.   I'm sorry, Your Honor.

    21                  The Government would now move Exhibit 90 into

    22    evidence, pursuant to the parties' pretrial stipulation.

    23                  THE COURT:   All right.   Exhibit 90 will be received

    24    into evidence.

    25                  (Exhibit 90 received into evidence.)




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      1   BY MS. KUMAR:

      2         Q.     Mr. Shin, I will represent to you that this is an

      3   e-mail from Dr. Chi to Nathan Pearce and Cansun Guralp in

      4   200- -- in June of 2005.

      5                MS. KUMAR:    If we can highlight the second sentence

      6   of the first paragraph, please.       Sorry, the third sentence.

      7   Sorry.

      8   BY MS. KUMAR:

      9         Q.     Mr. Shin, it says there -- and if the interpreter

    10    could translate for me -- "I asked the purchase division to

    11    order your systems for express train but it was holded due to

    12    the outside complaint."

    13          A.     Yes.

    14          Q.     Did you know in June of 2005 that the defendant was

    15    telling employees of Guralp that he had instructed the purchase

    16    division to order their systems for the express train project?

    17    And this is a "yes" or "no" question again, Mr. Shin.

    18          A.     No, I was not aware.

    19          Q.     And I'd like to direct your attention to the second

    20    paragraph, the first two sentences, where it reads:          "Mr. Kim

    21    at the purchase division will ask some discount to you which I

    22    already informed to you.      You just reply the discount price

    23    with the comment like as, 'When Dr. Chi visited my company, he

    24    strongly asked to discount the price.'"

    25                 And the next sentence reads --




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      1                THE INTERPRETER:     I'm sorry.   I'm sorry, I'm slow.

      2                MS. KUMAR:    No, not at all.

      3   BY MS. KUMAR:

      4         Q.     Were you aware in June of 2005 that the defendant

      5   was telling Guralp whether or not to discount the price further

      6   in negotiations over the express train project?

      7                MS. BEDNARSKI:    Objection.    Misstates the e-mail.

      8                THE COURT:    The objection is sustained.

      9                I don't read the e-mail the same way you just framed

    10    the question.

    11    BY MS. KUMAR:

    12          Q.     Mr. Shin, did you know in June of 2005 that the

    13    defendant was having conversations directly with Guralp about

    14    whether -- about the discounting of the price of the projects

    15    for the express train project?

    16                 MS. BEDNARSKI:    Your Honor, I think that question

    17    was misstated.    I don't see anything about discounting a

    18    project.   It may have been a misstatement.

    19                 THE COURT:    If that's an objection, the objection is

    20    overruled.

    21                 You may answer the question.

    22                 THE WITNESS:    I was not aware.

    23    BY MS. KUMAR:

    24          Q.     Mr. Shin, you testified on direct that you give

    25    opinions on the quality of project -- on products, excuse me,




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      1   to other people within KIGAM; is that right?

      2          A.    That's right.

      3          Q.    But you don't get paid to give those opinions, do

      4   you?

      5          A.    Typically, normal -- normally, I don't get paid.

      6          Q.    So you don't get paid by the company regarding which

      7   products you're giving the opinion; isn't that right?

      8          A.    Correct.

      9          Q.    Did you know in 2005 the defendant was receiving a

    10    commission on every piece of equipment made by Guralp that was

    11    sold in South Korea?

    12                 MS. BEDNARSKI:    Objection to the use of the word

    13    "commission."

    14                 THE COURT:    The objection is overruled.

    15                 THE WITNESS:    Vaguely, uh, I had the gist about it,

    16    but I didn't know exactly.

    17    BY MS. KUMAR:

    18           Q.    And you knew about that in 2004, Mr. Shin?

    19           A.    In 2004, I was aware that he was getting paid for

    20    consultations, but I didn't know how he was getting paid.

    21           Q.    You didn't know that he was getting paid for every

    22    product sold in South Korea by Guralp; isn't that right?

    23           A.    In 2004?

    24           Q.    Yes.

    25           A.    That, I didn't know.




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      1         Q.     And, in fact, all you knew in November of 2003, what

      2   you learned in November of 2003 was that the defendant had

      3   signed an agreement on behalf of KIGAM with Guralp; isn't that

      4   right?

      5         A.     Yes.

      6         Q.     I'd like to now direct your attention to Exhibit 80,

      7   which is in evidence.     I'd like to direct your attention to the

      8   top portion.

      9                Mr. Shin, I'll represent to you that this is an

    10    e-mail from the defendant, Dr. Chi, to Nathan Pearce from

    11    December of 2004.     I'd like to direct your attention to the

    12    third paragraph, to the sentence that begins "My largest

    13    order."

    14                 And it states there, "My largest order of your

    15    system might be for the Korea express train and the order will

    16    be done on April and it should be delivered until August."

    17                 And in No. 6 on that list, it states, "Systems for

    18    Korea express train (21 seats) ordered on April."

    19                 And lastly, Mr. Shin, I'd like to direct your

    20    attention to the last paragraph where it begins, "Frankly

    21    speaking, I want to make a large fortune by the order (6)."

    22                 Did you know, Mr. Shin, in December of 2004 that the

    23    defendant wanted to make a large fortune by the order of

    24    21 sets of Guralp equipment for the Korea express train

    25    project?




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      1           A.   I was not aware.

      2           Q.   And in one sentence -- if we could highlight -- it

      3   states, "I have a bank account in America and you can send the

      4   technical advice fee to my bank account like as agent fee."

      5                Did you know in December of 2004 that the defendant

      6   wanted to make a large fortune on the systems for the Korea

      7   express train project and that he wanted those payments to be

      8   deposited in a bank account in America?

      9           A.   I was not aware.

    10                 MS. KUMAR:    Thank you.   No further questions at this

    11    time.

    12                 THE COURT:    All right.   Any redirect?

    13                 MS. BEDNARSKI:    A few questions, Your Honor.

    14                              REDIRECT EXAMINATION

    15    BY MS. BEDNARSKI:

    16            Q.   Dr. Shin, who had obtained the agreement from Guralp

    17    that KIGAM could buy equipment directly without paying an agent

    18    fee?

    19            A.   Dr. Heon-Cheol Chi.

    20            Q.   And who had made the arrangement with Guralp to be

    21    able to achieve such a discount for KIGAM on their equipment?

    22            A.   Dr. Heon-Cheol Chi.

    23            Q.   And who had the ability to enforce that agreement?

    24            A.   I didn't quite understand the question.

    25            Q.   Who had the ability, um, to say, "This was our




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      1   agreement.    This is what you said you'd do, you'd give it to us

      2   for a discount"?

      3         A.     Dr. Heon-Cheol Chi.

      4         Q.     Could you get on the phone with Guralp and say, uh,

      5   "Hey, what about that discount?"

      6                MS. KUMAR:    Objection, Your Honor.     Argumentative.

      7                THE COURT:    Sustained.

      8   BY MS. BEDNARSKI:

      9         Q.     After you had made the decision that you would be

    10    able to afford to do a proposal based on a discounted fee, did

    11    you thereafter get the project?

    12          A.     Yes.

    13          Q.     And you told us you made the decision to choose that

    14    particular equipment.     When it came time to placing the order,

    15    did you need Dr. Chi's help to get that discount?

    16          A.     Yes.

    17          Q.     And is that what those e-mails reflect?

    18                 MS. KUMAR:    Objection, Your Honor.     Speculation.

    19                 THE COURT:    Sustained.

    20                 MS. BEDNARSKI:    All right.    No other questions.

    21    Thank you.

    22                 THE COURT:    All right.   Any additional questions?

    23                 MS. KUMAR:    No, Your Honor.

    24                 THE COURT:    May this witness be excused?

    25                 MS. KUMAR:    Yes, Your Honor.




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      1                THE COURT:    Ms. Bednarski, may this witness be

      2   excused?

      3                MS. BEDNARSKI:    Yes, sir.

      4                THE COURT:    Thank you very much.     You may be

      5   excused.

      6                Call your next witness.

      7                MS. BEDNARSKI:    Jung Ho Park.

      8                Permission to approach with the books, Your Honor.

      9                THE COURT:    Yes.

    10                 MS. BEDNARSKI:    Thank you.

    11                 THE COURTROOM DEPUTY:     Please raise your right hand.

    12                 Do you solemnly swear that the testimony you shall

    13    give in the cause now before this Court shall be the truth, the

    14    whole truth, and nothing but the truth, so help you God?

    15                 THE WITNESS:    Yes.

    16                 THE COURTROOM DEPUTY:     Thank you.    Be seated.

    17                 Please state and spell your name for the record.

    18                 THE WITNESS:    My name is -- my name is Jung Ho Park.

    19    The last name is spelled P-a-r-k, J-u-n-g, H-o.

    20                 THE COURT:    You may proceed.

    21                 MS. BEDNARSKI:    Thank you.

    22                                  JUNG HO PARK,

    23           DEFENDANT'S WITNESS, WAS SWORN AND TESTIFIED THROUGH

    24           THE CERTIFIED KOREAN LANGUAGE INTERPRETER AS FOLLOWS:

    25    ///




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      1                              DIRECT EXAMINATION

      2   BY MS. BEDNARSKI:

      3           Q.   Sir, where do you currently work?

      4           A.   I work for KIGAM, and currently I'm holding a

      5   position of Director of Earthquake Research Center.

      6           Q.   And how many years -- well, when did you start

      7   working at KIGAM?

      8           A.   I started working at KIGAM in 1998 as a temporary

      9   worker, and I got formally hired in 1999.

    10            Q.   What degrees of higher education do you have?

    11            A.   I do have a Ph.D.

    12            Q.   And what is your Ph.D. in?

    13            A.   Seismology.

    14            Q.   Now, over your 20 years of work at KIGAM, what have

    15    been your primary responsibilities as a researcher?

    16            A.   Initially, my work involved installing seismic

    17    stations in Korea and also analyzing and researching the data

    18    that was collected.     Recently, my work has been involved in

    19    early warning system.

    20            Q.   And as a researcher, do you collect and analyze

    21    data?

    22            A.   Yes.

    23            Q.   Do you know Dr. Chi?

    24            A.   Yes.

    25            Q.   And how many years have you known him?




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      1           A.    From the time that I was hired, so from the very

      2   beginning of my employment.

      3           Q.    And is all of your employment as a researcher in the

      4   Earthquake Research Center?

      5           A.    Yes.

      6           Q.    Now, have you written any articles or publications

      7   with Dr. Chi?

      8           A.    Yes.

      9           Q.    And have you given presentations, lectures at

    10    conferences with Dr. Chi?

    11            A.    Yes.

    12            Q.    Did you attend a conference in December 2016 at the

    13    San Francisco location?

    14            A.    Yes.

    15            Q.    Is that the annual International Seismology

    16    Conference?

    17            A.    Yes.

    18            Q.    At that time, did you give a presentation that was

    19    prepared with Dr. Chi?

    20            A.    Yes.

    21            Q.    And is that why he came to San Francisco in December

    22    2016?

    23            A.    Yes.

    24            Q.    Now, can you describe the state of the research of

    25    earthquakes in Korea in 1999?




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      1         A.      In 1995, there was an earthquake in Kobe, Japan, and

      2   also in '97 there was an earthquake in Korea in the name of

      3   city Gyeongju.       So because of that, the country felt that it

      4   was necessary to modernize the Earth -- some seismic equipment.

      5                 So -- but in 1999, the observation stations were

      6   only equipped with analog systems that are aged and only very

      7   few in between them.       So it was the time that modernization was

      8   necessary to install modernized equipment and that is capable

      9   of digitizing observations.

    10          Q.      The tsunami that you spoke of, that was the tsunami

    11    that killed almost 200,000 people in Indonesia and Thailand, in

    12    that part of the world?

    13          A.      I haven't mentioned the tsunami yet.

    14          Q.      I'm sorry.    The gigantic earthquake that you spoke

    15    of in 2004.

    16          A.      I think the earthquake that I mentioned was '95,

    17    Kobe, Japan.

    18          Q.      I see.    Okay.

    19                  Then after the earthquake in '95 or '97, then Korea

    20    started to build up its infrastructure of earthquake research?

    21          A.      Yes.

    22          Q.      And was there another major natural event that

    23    caused Korea to really ramp up its earthquake research?

    24          A.      Yes.    There were multiple large-scale and natural

    25    disasters all around the world.       However, particularly in 2004,




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      1   there was the Sumatra giant earthquake, also the tsunami

      2   incident.

      3         Q.     And that gigantic earthquake, did it cause the

      4   tsunami?

      5         A.     Yes.

      6         Q.     And was that -- was that gigantic earthquake

      7   measured as something like a 9.0 magnitude earthquake?

      8         A.     Yes.

      9         Q.     Now, as a result of that disaster that occurred in

    10    Indonesia and that part of the world, was there a change in

    11    legislation in Korea concerning earthquake preparedness?

    12          A.     Yes.   That definitely had an impact.       Not only the

    13    2004 earthquake in Indonesia, but there were lots of other

    14    large-scale earthquakes all over the world.         And, also,

    15    particularly -- there was also a big one in China as well.

    16                 So since then, Korean Government started paying

    17    attention or paying closer attention to protect buildings and

    18    infrastructures following earthquake episode.         So they

    19    decide -- they decide to pursue to expand the infrastructure.

    20          Q.     What is -- we've heard a term in this case called an

    21    "early warning system."      Can you explain what that means?

    22          A.     Once earthquake happens, the one that actually

    23    caused more damage is called S-wave.        So before that S-wave

    24    arrives, primary one is called P-wave.        So if P-wave can be

    25    detected early before an S-wave comes, then alarm system can be




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      1   triggered sooner.

      2                So the technology that enables that early warning

      3   system will minimize the disaster following the -- or the

      4   damage following the disaster and also providing quick and

      5   prompt information.

      6         Q.     In 1999, was there an early warning system in Korea?

      7         A.     No.

      8         Q.     Is there an early warning system now?

      9         A.     Yes.

    10          Q.     And what is Dr. Chi's contribution with respect to

    11    that early warning system development that has occurred?

    12                 MR. FUHR:    Objection.    Calls for speculation.

    13                 THE COURT:    Overruled.

    14                 THE WITNESS:    Together with Dr. Chi, I presented the

    15    need to develop early warning system.        Together with Dr. Chi,

    16    we designed the most suitable system for Korea and also

    17    focusing on developing a core technology for that.          So he was

    18    a -- he took a leading position in developing these core

    19    technologies and presenting ideas.

    20                 Dr. Chi was a project leader for this early warning

    21    system, and he oversaw it so that it could be successfully

    22    developed and led to the utilization by the Korean Weather

    23    Forecast Authority.      So he -- KM -- in other words, KMA.       So he

    24    was the project leader and -- for this particular research.

    25    ///




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      1   BY MS. BEDNARSKI:

      2         Q.     Did this early warning system that got built, is

      3   that a nationwide system of detection centers that communicate

      4   with each other?

      5         A.     Okay.    I didn't quite follow your questions exactly.

      6   When you say "communication," what parties' communications are

      7   you particularly referring to?

      8         Q.     All right.    Is the early warning system a nationwide

      9   system in South Korea?

    10          A.     Yes.

    11          Q.     And does it require the collection of data from

    12    dozens and dozens of places all over Korea?

    13          A.     For early warning system to work properly, all

    14    different agency will be -- should be able to share real-time

    15    data, and that system had to be established.         And we call that

    16    KISS, K-I-S-S.      And for that, systems technology was developed

    17    by our institute, our Research Center.        And Dr. Chi took a

    18    leading role in its technical development so that all the other

    19    agencies now could share the data.

    20          Q.     And when did Dr. Chi start that project, and when

    21    was it complete?

    22          A.     That project started in early 2000.        And the system

    23    called KISS, K-I-S-S, Korea Integrated Seismic System, was

    24    developed and completed in 2003.       And it's still in use.

    25          Q.     And for this nationwide observatory system, what




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      1   kind of equipment is required?       Is it the best?     The worst?

      2   Anything?

      3         A.      Different agencies to share the data in different

      4   working environments, the quality control plays a very

      5   important role so that the reliable data can be produced and

      6   shared.     So that data can be shared and the reliable data can

      7   be produced, needless to say the best product is needed for

      8   best data collection.

      9         Q.      And between 2000 and 2003, what was the highest

    10    quality manufacturer of sensors and recorders?

    11          A.      I think it's still the same even today.       But in

    12    terms of recorder and broadband sensor-wise, the machine from

    13    Kinemetrics is used worldwide as a standard and it was how --

    14    how it was sold back then.      And -- but in terms of borehole

    15    sensor and short-period sensor, I think the machine from Guralp

    16    would be one.

    17          Q.      And do you know when Guralp first developed its

    18    borehole sensor, the first Guralp borehole sensor?

    19          A.      I do not.

    20          Q.      Okay.   And is a borehole sensor one that can be sent

    21    down deep into the Earth?

    22          A.      Yes.

    23          Q.      And when you -- what is the advantage to sending a

    24    highly sensitive computer sensor deep into the Earth as opposed

    25    to having it do its job on the surface of the Earth?




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      1         A.     If I would explain about the earthquake, I guess,

      2   how it is, I think it's pretty similar to how you would measure

      3   the sound.     Because if you would measure the sound, it's

      4   probably better if you do that in a quiet place.          If the

      5   surrounding is quiet, you capture accurate sound.          The same for

      6   the earthquake.

      7                So rather than doing it on the surface, if you would

      8   go deeper into the Earth, you could hear the earthquake wave

      9   better.    So dig a borehole and put the sensor down into the

    10    deep Earth, you will be able to measure better.

    11          Q.     Has Kinemetrics developed a new borehole sensor

    12    called an STS-5A?

    13          A.     Yes.

    14          Q.     And tell us about that STS-5A.       At what point in

    15    this Korean infrastructure is that piece of equipment involved?

    16          A.     First of all, there is a broadband sensor called SD2

    17    that is -- ST2 -- sorry, STS-2 that is for the surface.            And

    18    that is known to be the best quality worldwide that is made by

    19    Kinemetrics.    Kinemetrics developed a borehole sensor called

    20    STS-58, which has same level of performance and quality as

    21    STS-2.

    22                 However, bore-type sensor as currently being used in

    23    Korea is Guralp's called CMG-3TB.       However, in terms of quality

    24    and performance, STS-2 is much superior.         So the sensor STS-5A

    25    that has the same performance level gets developed.          It's going




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      1   to be applied in Korea.      That is the plan.

      2         Q.     And is it a much more expensive piece of equipment?

      3         A.     Yes.   It is expensive.

      4         Q.     Now, is -- is it possible -- we've also heard a lot

      5   about the installation of sensors in other locations, not

      6   observatories but other locations, like damns and bridges and

      7   the railroad.     And I want to talk about that now.

      8                THE COURT:    Well, we can talk about that tomorrow

      9   morning because we're going to take our evening recess.

    10                 Ladies and gentlemen, keep in mind the instruction

    11    that I have given you.      You are not to discuss this case with

    12    anyone, members of your family, people involved in the trial,

    13    or anyone else.     Please do not conduct any research.       Please

    14    keep an open mind until all the evidence has been received,

    15    you've heard the arguments of counsel, instructions of the

    16    Court, and views of your fellow jurors.

    17                 We will see you tomorrow at 8:00 o'clock.

    18                 THE COURTROOM DEPUTY:     All rise for the jury.

    19                 THE COURT:    Court will remain in session.

    20                 (Out of the presence of the jury:)

    21                 THE COURT:    You may step down, sir.

    22                 All right.    The jury is not present.

    23                 Counsel, you're going to have to enlighten me where

    24    you're going with this testimony.       I sat through 30 minutes of

    25    this witness's testimony, and I find that most of it was




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      1   totally irrelevant.     The Government's not objecting, but I'm

      2   going to start sustaining my own objections because I just

      3   don't see where it's going.

      4                So I would hope that tonight you would sit with your

      5   witnesses and work with them because we're going to finish this

      6   case tomorrow by noon, at least, and then we're going to argue

      7   and instruct the jury tomorrow.       So I urge you to do that.

      8                With respect to jury instructions, has the

      9   Government now gone back and looked at the disputed instruction

    10    and understand what I mean by the phrase "influence"?

    11                 MS. KUMAR:    Yes, Your Honor, I do.     What I would

    12    point out to the Court is a few things, which I'm sure the

    13    Court is aware of.     First, this language comes directly from

    14    Korean Supreme Court cases.

    15                 THE COURT:    The problem with coming from cases,

    16    there's judges in courts who are applying concepts to the facts

    17    of the case.    And we are instructing a lay jury.        And what my

    18    concern is that the word "assist" has -- will sweep in innocent

    19    conduct.

    20                 And so it's my inclination -- and I haven't made a

    21    final ruling yet.     I, quite frankly, am surprised that the

    22    Government hasn't agreed to remove that language.          But if you

    23    insist on pursuing that language, I'll make a ruling tomorrow.

    24    I just want to make sure you understood because you seemed a

    25    little bit confused yesterday in terms of what I was referring




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      1   to with the "influence" language.

      2                MS. KUMAR:    Yes, Your Honor.    I didn't have it in

      3   front of me, and now I do.

      4                I'll just briefly indicate that the Government's

      5   position is that acts that the defendant was taking in his

      6   official capacity were -- even if they were to assist

      7   decision-makers, would still fall within the scope of

      8   Article 129.

      9                And that is underscored by the fact -- the number of

    10    cases which we cited to in our opposition to the defendant's

    11    memorandum that have repeatedly stated that there does not

    12    actually have to be any influence because the purpose behind

    13    the law is to ensure that there isn't any doubt to -- to where

    14    that public official's loyalty lies.        And the idea that

    15    someone's getting paid for something in the scope of their

    16    duties is the problem.

    17                 And that's why, given that, the Government submits

    18    that that language is important.       And moreover, as evidenced by

    19    cross-examination, Ms. Bednarski asked Mr. Shin, You could not

    20    have done that with Dr. -- without Dr. Chi's assistance?

    21                 And I think that's exactly what I imagine the

    22    defense is going to argue, is that he didn't do anything to

    23    actually influence and that all he was doing was helping

    24    everyone, helping the people of South Korea, helping them, you

    25    know, avoid some of these catastrophes.




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      1                And I think the Government's position is that, even

      2   though it's acts of assistance, if they're within his official

      3   capacity and he's getting paid for them, then that is in and of

      4   itself bribery under South Korean law.

      5                But on that, Your Honor, I'll submit.

      6                THE COURT:    All right.   Well, I'll make a ruling

      7   tomorrow.    But I just want to make sure that you were now aware

      8   of what my concern was.

      9                MS. KUMAR:    I do know, Your Honor.

    10                 THE COURT:    All right.   And I'll discuss -- I don't

    11    think there are any -- other than that issue, that's the only

    12    remaining issue with respect to the jury instructions.           So I'll

    13    be responsible for preparing the final version of the jury

    14    instructions that will be delivered to the jury as well as the

    15    verdict form; although, my memory was that the verdict form was

    16    agreed to.

    17                 All right.    We will see you tomorrow at

    18    8:00 o'clock.

    19                 Anybody have any information in terms of what the --

    20    Mr. Shin earned under his agreements?

    21                 MS. KUMAR:    Your Honor, the Government has no

    22    discovery on this issue.

    23                 MS. BEDNARSKI:    No.   I don't know.

    24                 THE COURT:    Are you afraid to ask him?

    25                 MS. KUMAR:    No, Your Honor.    I -- I think the issue




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      1   was that -- first of all, I was trying to be relatively quick,

      2   given the language issues.      But, I mean, we could explore that

      3   with other witnesses, and we'll certainly consider that.

      4                THE COURT:    Well, I'm not asking you to consider it.

      5   I was just wondering if anybody had any information.

      6                MS. KUMAR:    The Government certainly doesn't.

      7                MS. BEDNARSKI:    Your Honor, I wanted to raise one

      8   other issue.

      9                THE COURT:    Sure.

    10                 MS. BEDNARSKI:    The -- the Government asked Dr. Shin

    11    a question about, And you didn't know that he was given cash

    12    during the meeting at which he signed a contract?

    13                 THE COURT:    The question is:    Did he receive cash

    14    during his meeting?

    15                 MS. BEDNARSKI:    And there is not evidence of that.

    16    There is the evidence of --

    17                 THE COURT:    Well, the e-mail clearly indicates that

    18    he expected to receive cash.       Whether or not he did, I think

    19    it's a fair question.

    20                 MS. BEDNARSKI:    I think it improperly implied that

    21    somehow cash was given in exchange for signing this contract.

    22    And it was an unfair question, and it was -- and the Government

    23    knew that there was no evidence that cash was given at that

    24    meeting.

    25                 THE COURT:    You can certainly argue that, or your




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      1   client can testify to it.

      2                 Does your client intend to testify?

      3                 MS. BEDNARSKI:   He does.

      4                 THE COURT:   Okay.   Well, good.    He can explain all

      5   that, then.

      6                 All right.   We will be in recess.

      7                 (Proceedings concluded at 2:10 p.m.)

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      1                     CERTIFICATE OF OFFICIAL REPORTER

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      3   COUNTY OF LOS ANGELES      )
                                     )
      4   STATE OF CALIFORNIA        )

      5

      6                I, MYRA L. PONCE, FEDERAL OFFICIAL REALTIME COURT

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      8   CENTRAL DISTRICT OF CALIFORNIA, DO HEREBY CERTIFY THAT PURSUANT

      9   TO SECTION 753, TITLE 28, UNITED STATES CODE THAT THE FOREGOING

    10    IS A TRUE AND CORRECT TRANSCRIPT OF THE STENOGRAPHICALLY

    11    REPORTED PROCEEDINGS HELD IN THE ABOVE-ENTITLED MATTER AND THAT

    12    THE TRANSCRIPT PAGE FORMAT IS IN CONFORMANCE WITH THE

    13    REGULATIONS OF THE JUDICIAL CONFERENCE OF THE UNITED STATES.

    14

    15

    16

    17                                DATED THIS 13TH DAY OF JULY, 2017.

    18

    19

    20                                        /S/ MYRA L. PONCE

    21                            MYRA L. PONCE, CSR NO. 11544, CRR, RDR
                                     FEDERAL OFFICIAL COURT REPORTER
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